                          Case 22-11072-JTD   Doc 3   Filed 11/14/22    Page 1 of 27




                              IN THE UNITBD STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE

In re

ALAMEDA RESEARCH LLC,                                            Chapter   11


                                                                 Case   No. 22-11066 (JTD)

                                         Debtor
                                                           X
In re

ALAMEDA RESEARCH LTD,                                            Chapter   11


                                                                 Case No. 22-11061 (JTD)

                                         Debtor
                                                           X

In re

FTX TRADING LTD.,
                                                                 Chapter   11


                                                                 Case   No. 22-11068 (JTD)
                                         Debtor
                                                          X
In re

ALAMEDA RESEARCI{ HOLDINGS INC..                                 Chapter   11


                                                                 Case   No. 22-11069 (JTD)

                                         Debtor
                                                          X
In re

CLIFTON BAY INVESTMENTS LLC.                                     Chapter   11


                                                                 Case   No. 22-11070 (JTD)

                                         l)ebtor
                                                          X




{I   368.002-W00689{r9.   )
                        Case 22-11072-JTD   Doc 3       Filed 11/14/22    Page 2 of 27




In re

WEST REALM SHIRES SERVICES INC.,                                   Chapter   11


                                                                   Case No. 22-11071(JTD)

                                       Debtor
                                                            X
In re

WEST REALM SFIIRES FINANCIAL SERVICES                              Chapter   11
INC.,
                                                                   Case   No. 22-11072 (JTD)

                                       Debtor
                                                            X
In re

LEDGER HOLDINGS INC.,                                              Chapter   11


                                                                   Case   No. 22-11073 (JTD)

                                       Debtor
                                                            X
In re

FTX JAPAN I-IOLDINGS K.K.,                                         Chapter   11


                                                                   Case   No. 22-11074 (JTD)

                                       Debtor
                                                            X
In re

FTX EUROPE AG,                                                     Chapter   11


                                                                   Case   No. 22-11075 (JTD)

                                       Debtor
                                                            X




    I368.002-W0068969
                                                    1
{                       )
                     Case 22-11072-JTD   Doc 3     Filed 11/14/22    Page 3 of 27




In re

FTX PROPERTY HOLDINGS LTD,                                    Chapter l1

                                                              Case   No. 22-11076 (JTD)

                                     Debtor
                                                        X
In re

LT BASKETS LTD.,                                              Chapter   11


                                                              Case   No. 22-11077 (JTD)

                                     Debtor
                                                        X
In re

ALAMEDA TR LTD,                                               Chapter   11


                                                              Case   No. 22-11078 (JTD)

                                     Debtor
                                                        X
In re

ALLSTON V/AY LTD.                                             Chapter   11


                                                              Case   No. 22-11079 (JTD)

                                     Debtor
                                                        X
In re

ANALISYA PTE LTD.                                             Chapter   11


                                                              Case   No. 22-11080 (JTD)

                                     Debtor
                                                        X




{ l 368.002-W0068969. )                          -3-
                       Case 22-11072-JTD   Doc 3     Filed 11/14/22    Page 4 of 27




In re

ATLANTIS TECHNOLOGY I,TD.,                                      Chapter 1i

                                                                Case   No. 22-11081 (.rTD)

                                      Debtor
                                                         X
In re

BANCROFT WAY LTD,                                               Chapter    11


                                                                Case   No. 22-11082 (JTD)

                                      Debtor
                                                         X
In re

BLUE RIDGE LTD,                                                 Chapter'   11


                                                                Case   No. 22-11083 (JTD)

                                      Debtor
                                                         X
In re

CARDINAL VENTURES LTD.                                          Chapter    11


                                                                Case   No. 22-11084 (JTD)

                                      Debtor
                                                         X
In re

CEDAR BAY LTD,                                                  Chapter    11


                                                                Case   No. 22-11085 (JTD)

                                      l)ebtor
                                                         X




{ I368.002-W00689(;9   )                           -4-
                        Case 22-11072-JTD   Doc 3    Filed 11/14/22    Page 5 of 27




In re

LIQUID SECURITIES SINGAPORE PTE LTD,                            Chapter    11


                                                                Case No. 22-11086 (JTD)

                                       Debtor
                                                         X
In re

MACLAURIN INVESTMENTS LTD.,                                     Chapter    11


                                                                Case   No. 22-11087 (JTD)

                                       Debtor
                                                         X
In re

MANGROVE CAY LTD.                                               Chapter    11


                                                                Case No. 22- I 1088 (JTD)

                                       Debtor
                                                         X
In re

PAPER BiRD INC,                                                 Chapter    11


                                                                Case No. 22-11089 (JTD)

                                       Debtor
                                                         X
In re

PIONEER STREET INC..                                            Cliapter   11


                                                                Case   No. 22-11090 (JTD)

                                       l)ebtor
                                                         X




{ I 3{rt1.002-W0068969. }                           5-
                         Case 22-11072-JTD   Doc 3     Filed 11/14/22    Page 6 of 27




In re

QUOINE INDIA PTE LTD,                                             Chapter   11


                                                                  Case No.   22-Il09l (JTD)

                                        Debtor.
                                                           X
In re

QUOINE VIETNAM CO. LTD,                                           Chapter   11


                                                                  Case   No. 22-11092 (JTD)

                                        Debtor
                                                           X
In re

SNG INVESTMENTS YATIRIM VE                                        Chapter   11
DANr$MANLiK ANONIM $iRKETi,
                                                                  Case   No. 22-11093 (JTD)

                                        Debtor
                                                           X
In re

STRATEGY ARK COLLECTIVE, LTD..                                    Chapter   11


                                                                  Case   No. 22-11094 (JTD)

                                        Debtor
                                                           X
In re

TECHNOLOGY SERVICES BAHAMAS LIMITED,                        :     Chapter   11


                                                                  Case   No. 22-11095 (JTD)

                                        Debtor
                                                           X




{   l36rÌ 002-w00689ó9   )                           -6-
                       Case 22-11072-JTD   Doc 3     Filed 11/14/22    Page 7 of 27




In re

VERDANT CANYON CAPITAL LLC,                                     Chapter   11


                                                                Case   No. 22-11096 (JTD)

                                      Debtor
                                                         X
In re

V/EST INNOVATIVE BARISTA LTD.,                                  Chapter   11


                                                                Case   No. 22-11097 (JTD)

                                      Debtor
                                                         X
In re

WESTERN CONCORD ENTERPRISES LTD..                               Chapter   11


                                                                Case   No. 22-11098 (JTD)

                                      Debtor
                                                         X
In re

FTX EQUITY RECORD HOLDINGS LTD,                                 Chapter   11


                                                                Case   No. 22-11099 (JTD)

                                      Debtor
                                                          X

In re

FTX EXCHANGE FZE,                                               Chapter   11


                                                                Case   No. 22-11100 (JTD)

                                      Debtor
                                                         X




{ I 368.002-W00rr8969. )                           -t-
                    Case 22-11072-JTD   Doc 3    Filed 11/14/22    Page 8 of 27




In re

FTX HONG KONG LTD,                                          Chapter i   1



                                                            Case   No. 22-Il10l (JTD)

                                   Debtor
                                                     X

In re

FTX JAPAN K.K.,                                             Chapter   11


                                                            Case No. 22-11102 (JTD)

                                   Debtor
                                                     X

In re

FTX.IAPAN SERVICES KK,                                      Chapter   11


                                                            Case No. 22-11103 (JTD)

                                   l)ebtor
                                                     X

In re

ALAMEDA AUS PTY LTD,                                        Chapter   11


                                                            Case   No. 22-11104 (JTD)

                                   Debtor
                                                     X

In re

ALAMEDA RESEARCH (BAHAMAS) LTD,                             Chapter   11


                                                            Case No.    22-Il105 (JTD)

                                   Debtor
                                                      X




{ 1368.002-W0068969.}                           8-
                     Case 22-11072-JTD      Doc 3    Filed 11/14/22    Page 9 of 27




In re

ALAMEDA RESEARCH KK,                                            Chapter I I

                                                                Case No. 22-11106 (JTD)

                                     Debtor
                                                         X
In re

ALAMEDA RE,SEARCH PTE LTD,                                      Chapter l1

                                                                Case   No. 22-11107 (JTD)

                                     Debtor
                                                         X

In re

ALAMEDA RESEARCH YANKARI LTD.                                   Chapter l1

                                                                Case   No. 22-11108 (.fTD)

                                     Debtor
                                                          X
In re

ALAMEDA TR SYSTEMS             S. DE R.   L..                   Chapter l1

                                                                Case   No. 22-11109 (JTD)

                                     Debtor
                                                          X

In re

BLOCKFOLIO, INC.,                                               Chapter   11


                                                                Case No.   22-Il110 (.rTD)

                                     Debtor
                                                          X




{ r 368.002-W0068969. }                             9-
                     Case 22-11072-JTD   Doc 3      Filed 11/14/22     Page 10 of 27




In re

CLIFTON BAY INVESTMENTS LTD                                     Chapter 1i

                                                                Case No. 22-11111 (JTD)

                                     Debtor
                                                         X
In re

COTTONWOOD GROVE LTD,                                           Chapter   11


                                                                Case No. 22-11112 (JTD)

                                     Debtor
                                                         X
In re

CRYPTO BAI]AMAS LLC.                                            Chapter   11


                                                                Case No. 22-11113 (JTD)

                                     Debtor
                                                         X

In re

DEE,P CREEK LTD,                                                Chapter   11


                                                                Case   No. 22-11114 (JTD)

                                     Debtor
                                                         X

In re

DIGITAL CUSTODY INC.,                                           Chapter   11


                                                                Case   No. 22-11115 (JTD)

                                     Debtor
                                                         X




{ I 368.002-W0068e6e. )                          -1 0-
                       Case 22-11072-JTD   Doc 3     Filed 11/14/22     Page 11 of 27




In re

FTX (GIBRALTAR) LTD.                                             Chapter   11


                                                                 Case   No. 22-11116 (JTD)

                                       Debtor'
                                                          X
In re

FTX CANADA INC,                                                  Chapter   11


                                                                 Case   No. 22-11117 (JTD)

                                       Debtor
                                                          X
In re

FTX DIGITAL HOLDINGS (SINGAPORE) PTE                             Chapter   11
LTD,
                                                                 Case No. 22-11118 (JTD)

                                       Debtor
                                                          X
In re

FTX PRODUCTS (SINGAPORE) PTE, LTD,                               Chapter   11


                                                                 Case   No. 22-111 19 (JTD)

                                       Debtor
                                                          X
In re

FTX SERVICES SOLUTIONS LTD.,                                     Chapter   11


                                                                 Case   No. 22-11120 (JTD)

                                       Debtor
                                                          X




{ I 3(rlì.002-W00ótì9(r9 }                         -11-
                  Case 22-11072-JTD   Doc 3     Filed 11/14/22     Page 12 of 27




In re

FTX STRUCTURED PRODUCTS AG.                                 Chapter   11


                                                            Case   No. 22-11122 (JTD)

                                  Debtor
                                                     X
In re

FTX TRADING GMBH,                                           Chapter   11


                                                            CaseNo. 22-11123 (JTD)

                                  Debtor
                                                     X
In re

F'TX ZUMA LTD,                                              Chapter   11


                                                            Case   No. 22-lII24 (ITD)

                                  Debtor
                                                     X

In re

GLOBAL COMPASS DYNAMICS LTD..                               Chapter   11


                                                            Case   No. 22-11125 (JTD)

                                  Debtor
                                                     X
In le

GOODMAN INVESTMENTS LTD.,                                   Chapter   11


                                                            Case   No. 22-11126 (JTD)

                                  Debtor
                                                     X




(l368.002-W0068969.)                          -12-
                     Case 22-11072-JTD   Doc 3       Filed 11/14/22   Page 13 of 27




In re

HAWAII DIGITAL ASSETS INC.,                                      Chapter   11


                                                                 Case No. 22-11127 (JTD)

                                     Debtor
                                                           X

In re

INNOVATIA LTD,                                                   Chapter   11


                                                                 Case   No. 22-11128 (JTD)

                                     Debtor'
                                                           X

In re

ISLAND BAY VENTURE,S INC.                                        Chapter   11


                                                                 Case   No. 22-11129 (JTD)

                                     Debtor
                                                           X

In re

KILLARNEY LAKE INVESTMENTS LTD,                                  Chapter   11


                                                                 Case   No. 22-11131 (JTD)

                                     Debtor'
                                                           X

In re

ZUBR EXCHANGE LTD.                                               Chapter   11


                                                                 Case   No. 22-11132 (JTD)

                                     l)ebtor
                                                           X




II   368.002-W00h8969.   )
                                                 -   13-
                     Case 22-11072-JTD   Doc 3    Filed 11/14/22     Page 14 of 27




In re

ALAMEDA GLOBAL SERVICES LTD.,                                 Chapter   11


                                                              Case   No. 22-11134 (JTD)

                                     Debtor.
                                                        X
In re

COTTONWOOD TECHNOLOGIES LTD.,                                 Chapter   11


                                                              Case   No. 22-11136 (JTD)

                                     Debtor
                                                        X

In re

DECK TECI'INOLOGIES HOLDiNGS LLC,                             Chapter   11


                                                              Case   No. 22-11138 (JTD)

                                     Debtor
                                                        X

In re

DECK TECHNOLOGIES INC.,                                       Chapter   11


                                                              Case   No. 22-11139 (JTD)

                                     Debtor
                                                        X

In re

EUCLID WAY LTD,                                               Chapter   11


                                                              Case   No. 22-11141 (JTD)

                                     Debtor
                                                        X




{   1368.002-W0068969.   )                       -14-
                      Case 22-11072-JTD   Doc 3     Filed 11/14/22     Page 15 of 27




In re

FTX DIGITAL ASSETS LLC,                                         Chapter   11


                                                                Case No. 22-11143 (JTD)

                                      Debtor
                                                          X

In re

FTX EMEA LTD.,                                                  Chapter   11


                                                                Case   No. 22-11145 (JTD)

                                      l)ebtor
                                                          X
In re

FTX US TRADING, [NIC.,                                          Chapter   11


                                                                Case   No. 22-11149 (JTD)

                                      Debtor
                                                          X
In re

HIVE EMPiRE TRADING PTY LTD,                                    Chapter   11


                                                                Case   No. 22-11150 (JTD)

                                      Debtor.
                                                          X
In re

LIQUID FINANCIAL USA iNC.,                                      Chapter   11


                                                                Case No.   22-ll151 (JTD)

                                      Debtor
                                                          X




{ I 3ó8.002-w00689{i9. )                          -1 5-
                      Case 22-11072-JTD   Doc 3     Filed 11/14/22     Page 16 of 27




In re

LIQUIDEX LLC,                                                   Chapter 1i

                                                                Case   No. 22-11152 (JTD)

                                      Debtor
                                                         X

In re

NORTH DIMENSION INC,                                            Chapter   11


                                                                Case   No. 22-11153 (JTD)

                                      Debtor
                                                         X

In re

NORTH WIRELESS DIMENSION INC.                                   Chapter   11


                                                                Case No. 22-11154 (JTD)

                                      Debtor
                                                         X
In re

I,EDGERPRIME BITCOIN YIELD                                      Chapter 1i
ENHANCEMENT MASTER FUND LP.
                                                                Case   No. 22-11155 (JTD)

                                      Debtor
                                                         X
In re

LEDGERPRIME DIGITAL ASSET                                       Chapter   11
OPPORTUNITIES FLTND, LLC,
                                                                Case No.   22-IIl56 (JTD)

                                      Debtor
                                                         X




{   l368 002-w006tì969.   )                       -r6-
                      Case 22-11072-JTD   Doc 3     Filed 11/14/22     Page 17 of 27




In re

LEDGERPRIME DIGITAL ASSET                                       Chapter   11
OPPORTLINITIES MASTER FUND LP
                                                                Case   No. 22-11157 (JTD)

                                      Debtor
                                                            X

In re

LEDGER PRIME LLC,                                               Chapter   11


                                                                Case   No. 22-11158 (JTD)

                                      Debtor.
                                                            X
ln   re

LEDGERPRIMI] VENTURES, LP,                                      Chapter   11


                                                                Case No. 22-11159 (.rTD)

                                      Debtor
                                                            X
In re

NORTII DIMENSION LTD.                                           Chapter   11


                                                                Case   No. 22-11160 (JTD)

                                      Debtor
                                                            X
In re

QUOTNE PTE LTD.                                                 Chapter   11


                                                                Case   No. 22-1116i (JTD)

                                      Debtor
                                                            X




{1368.002-w00ót3969   )                           -17   -
                    Case 22-11072-JTD   Doc 3     Filed 11/14/22     Page 18 of 27




In le

CEDAR GROVE TECHNOLOGY SERVICES, LTD,                  :      Chapter 1l

                                                              Case   No. 22-11162 (JTD)

                                    Debtor
                                                       X
In re

DAAG TRADING, DMCC,                                           Chapter    11


                                                              Case   No. 22-11163 (JTD)

                                    Debtor
                                                       X

In re

FTX CERTIFICATES GMBH,                                        Chapter    11


                                                              Case   No. 22-11164 (JTD)

                                    Debtor
                                                       X
In re

FTX CRYPTO SERVICES LTD.,                                     Chapter'   11


                                                              Case   No. 22-11165 (JTD)

                                    Debtor
                                                       X
In re

FTX EU LTD.,                                                  Chapter    11


                                                              Case   No. 22-11166 (JTD)

                                    Debtor
                                                       X




{   l368.002-W0068969   )                       -18-
                         Case 22-11072-JTD   Doc 3     Filed 11/14/22     Page 19 of 27




In re

FTX LEND [NC.,                                                     Chapter   11


                                                                   Case   No. 22-11167 (JTD)

                                         Debtor
                                                            X
In re

FTX MARKETPLACE, INC.,                                             Chapter   11


                                                                   Case   No. 22-11168 (JTD)

                                         Debtor
                                                            X
In re

FTX SV/ITZERLAND GMBH,                                             Chapter   11


                                                                   Case   No. 22-11169 (JTD)

                                         Debtor
                                                            X
In re

FTX TURKEY TEKNOLOJI VE TICARET                                    Chapter 1i
ANONIM $IRKET,
                                                                   Case   No. 22-11170 (JTD)

                                         Debtor
                                                            X
In re

FTX US SERVICES, INC.,                                             Chapter   11


                                                                   Case No. 22-11171 (JTD)

                                         Debtor
                                                            X




{   I368.002-W006i3969   )                           -19-
                       Case 22-11072-JTD   Doc 3     Filed 11/14/22     Page 20 of 27




In re

FTX VENTURES LTD.                                                Chapter l1

                                                                 Case   No. 22-11172 (ITD)

                                       Debtor
                                                          X

In re

GG TRADING TE,RMINAL LTD,                                        Chapter   11


                                                                 Case   No. 22-11173 (JTD)

                                       Debtor
                                                          X
In re

GOOD LUCK GAMES, LLC,                                            Chapter I I

                                                                 Case   No. 22-11174 (ITD)

                                       Debtor
                                                          X
In re

I]ANNAM GROUP INC,                                               Chapter   11


                                                                 Case   No. 22-11175 (JTD)

                                       Debtor
                                                          X
In re

HILLTOP TECHNOLOGY SERVICES LLC,                                 Chapter   11


                                                                 Case   No. 22-11176 (.fTD)

                                       Debtor
                                                          X




{ I 3ó8.002-W00(r89(,9. }                          -20-
                      Case 22-11072-JTD            Doc 3       Filed 11/14/22         Page 21 of 27



In re

LEDGERPRIME BITCOIN YIELD                                                       Chapter    11
E,NHANCEMENT FLIND, LLC,
                                                                                Case   No. 22-11177 (JTD)

                                               Debtor
                                                                      X

In re

V/EST REALM SHIRES INC.,                                                        Chapter l1

                                                                                Case   No. 22-11183 (JTD)

                                               Debtor
                                                                      X


            MOTION OF DEBTORS FOR ENTRY OF AN ORDBR (I) AUTHORIZING
                JOINT ADMINISTRATION OF THE DEBTORS' CHAPTER 11
                 CASF],S AND IIIì GRANTING CERTAIN RELATED RELIEF

                      FTX Trading Ltd. and its affiliated debtors and debtors-in-possession

(collectively, the "Debtors")l hereby submit this motion (this "Motion") for entry of an order,

substantially in the form attached hereto as Exhibit A (the "Order"), pursuant to sections 105(a)

and342(c)(1) of title 11 of the United States Code, 11 U.S.C. $$ 101 et seq. (the "Bankruptcy

Code"), rules 1005, 1015(b) and2002(n) of the Federal Rules of Bankruptcy Procedure (the

"Bankruptcy Rules") and rule 1015-1 of the Local Rules of Bankruptcy Practice and Procedure

of the United States Bankruptcy Court for the District of Delaware (the "I-ocal Rules"),

(a) authorizing the joint administration of the Debtors' chapter l1 cases (the "Chapter 11 Cases")

and the consolidation thereof ftrr procedural purposes only and (b) granting certain related relief.

In support of the Motion, the Debtors respectfully state as follows



       The last four digits of FTX Trading Ltd.'s tax identification number are 3288. Due to the large number of
       debtor entities in these Chapter I I Cases, for which the Debtors will request joint administration, a complete list
       of the Debtors and the last four digits of their federal tax identification numbers is not provided herein. A
       complete list of such information will be made available on a website of the Debtors' proposed claims and
       noticing agent.

{r   368.002-W0068969. }                                    -21-
                     Case 22-11072-JTD              Doc 3    Filed 11/14/22        Page 22 of 27




                                                      Background

                    1.      On November        11   ,2022 and, with respect to Debtor West Reahn Shires

Inc., on November 14,2022, each of the Debtors filed with the Court a voluntary petition for

relief under chapter 11 of the Bankruptcy Code.2 The Debtors continue to operate their

businesses and manage their properties as debtors-in-possession pursuant to sections                    1   107(a) and

1108 of the Bankruptcy Code. As of the date of this Motion, no creditors' committee, trustee or

examiner has been appointed in these Chapter 11 Cases.

                                                      Jurisdiction

                    2.      The Court has jurisdiction to consider this Motion pulsuant to 28 U.S.C.

5$$   157 and 1334 and the Amended Stnnding Order of Referenc¿ from tlie United States District

Court for the District of Delaware. dated February 29,2012. Tliis mattel is a core ploceeding

pursuant to 28 U.S.C. $ 157(b). Venue is proper in the Court pulsuant to 28 U.S.C. $$ 1408 and

1409. The statutory predicates for the relief requested herein are sections 105(a) and342(c)(I)

of the Bankruptcy Code, Bankruptcy Rules 1015(b) and2002(n) and Local Rule 1015-1.

Pursuant to Local Rule 9013-1(f1, the Debtors consent to the entry of a final order or judgment

by the Court in connection with this Motion to the extent it is later determined that the Court,

absent consent of the parties, cannot enter final orders or judgments consistent with Article                   III of

the United States Constitution.


      For the avoidance of doubt, the following entities are not one of the Chapter 1l Cases that have filed for relief
      under chapter I I of the Bankruptcy Code or any of the cases proposed to be.iointly administered pursuant to
      this Motion: Altalix Ltd, B for Transfer Egypt, B Payment Services Nigeria, B Transfer Services Ltd, B
      Tlansfer Services Ltd. UAE, B Transfel Selvices Uganda, BitPesa l(enya Ltd., BitPesa RDC SARL, BitPesa
      Senegal Ltd., BitPesa South Africa, IlitPesa'l-anzania Ltd., BitPesa Uganda Ltd., Bitvo, lnc., Blockfolio
      Iloldings, Inc., BT Payurent Selvices Ghana, [31- Payrnent Services South Aflica, BT Payments Uganda, BT
      Pesa Nigeria Ltd., BTC Africa S.4., B'ft,S I-inited Tanzania, CM-Equity AG, Corner Stone Staflìng, Exchange
      4 Flee Seychellen, Exchange 4Free Austlalia Br., Exchange 4Free Ltd., Exchange 4Free South Afi'ica Br.,
      Exchange 4Free Swiss Branch, Finfax Cornpany, FTX US Derivatives LLC, FTX Vault Trust Company, FTX
      Ventules Partnelship, Tigetwit Ltd. and TransfèrZero.




{ l 368 002-W00689ó9. )                                     22
                          Case 22-11072-JTD         Doc 3     Filed 11/14/22        Page 23 of 27




                                                    Relief Requested

                      3.          By this Motion, the Debtors request entry of the Order, substantially in the

form attached hereto as Exhibit A, (a) authorizingìoint administration of these Chapter 11 Cases

and the consolidation thereof for procedural purposes only and (b) granting certain related relief.

The Debtors request that the Court maintain one file and one docket for all of the jointly

administered cases under the case number assigned to FTX Trading Ltd. (Case No. 22-11068

(JTD)) and that these cases be administered under the following consolidated caption:

                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE

In re                                                              Chapter 1l

FTX TRADING LTD.. et ql..l                                         Case   No. 22-11068 (JTD)

             Debtors.                                              (.Iointly Administered)




       The last four digits of FTX Trading Ltd.'s tax identification number are 3288. Due to the large number of
       debtol entities in these Chapter 1l Cases, a complete list of the Debtors and the last four digits of their
       federal tax identification nurnbers is not provided herein. A complete list of suclr information may be
       obtained on the website of the Debtors' proposed clairns andnoticing agent at ['].

                      4.         The Debtors further request that the Court order that the foregoing caption

and footnote satisfy the requirements set forth in section 3a2@)Q) of the Bankruptcy Code and

Bankruptcy Rules 1005 and 2002(n)

                      5.         The Debtors also request that an entry be made on the docket of each ot

the Debtors' cases, other than Debtor FTX Trading Ltd., substantially as follows to reflect the

.ioint adrninistratiou of these Chapter 11 Cases

                          An order has been entered in this     case under rule 1015(b) of the
                          Federal Rules of Bankruptcy Procedule directing the procedural
                          consolidation and joint administlation of the chapter I 1 cases of FTX
                          Trading Ltd. and its afhliated debtors. All further pleadings and
                          other papers shall be filecl in, and all further docket entries shall be


{   l368 002-W0oóf1969.   )                                 -23-
                  Case 22-11072-JTD           Doc 3     Filed 11/14/22    Page 24 of 27




                      made in, the docket of FTX Trading Ltd., Case No. 22-11068 (JTD)
                      and such docket should be consulted for all matters affecting this
                      chapter 1 1 case.

                                               Basis for Relief

                  6.         Bankruptcy Rule 1015(b) provides that if "two or more petitions are

pending in the same court by or against . . . a debtor and an affiliate, the courl may order     a   joint

adrninistrationof the estates." Fed. R. Bankr. P. 1015(b). The Debtors are "affrliates" as defined

in section 101(2) of the Bankruptcy Code. 11 U.S.C. $ 101(2). Thus,.joint administration of the

Debtors' Chapter 11 Cases is appropriate under Bankruptcy Rule 1015(b) and, accordingly, this

Court has the authority to grant the relief requested helein.

                  7.         Bankruptcy Rule 1015(b) promotes the fair and efficient administration of

multiple cases of affiliated debtors while plotecting the rights of individual creditors. Among

other things, joint administration obviates the need for duplicative notices, motions, applications

and orders, thereby saving considerable time and expense for the Debtors and their estates.

Granting the requested relief will promote the fair and efficient administration of these Chapter

11 Cases.

                  8.         Section 105 of the Bankruptcy Code also provides the Court with the

power to order joint administration of these Chapter         1l Cases. Section   105(a) of the Bankruptcy

Code states thatabankruptcy court "may issue any order, process, or judgment that is necessary

or appropriate to carry out the provisions of fthe Bankruptcy Code]." 1i U.S.C. $ 105(a).

                  9.         Additionally, Local Rule 1015-1 provides, in relevant part, as follows:

                  An order ofjoint administration may be entered, without notice aud an
                  oppoltunity for hearing, upoll the filing of a motion I'or joint
                  administration supported by an affidavit, declaration or
                  verification, which establishes that the joint administration ol'two or
                  lnore cases pending in this Court under title 11 is warranted and will
                  ease the administrative burden for the Court and the parties.



{1368.002-W0068969.   )                               -24-
                       Case 22-11072-JTD      Doc 3     Filed 11/14/22      Page 25 of 27




Del. Bankr. L.R. 1015-1.

                    10.     The Debtors anticipate that most, if not all, of the notices, applications,

motions, other pleadings, hearings and orders in these Chapter 11 Cases will affect all of the

Debtors. Not jointly administering these cases would result in numerous duplicative pleadings

being served upon separate, but significantly overlapping, selvice lists. Such duplication of

substantially iderfical documents would be wasteful. Joint administration will also ease the

administrative burden on the Court and all parties-in-interest, and will reduce the estates' fees

and costs.

                   I   l    Joint administration permits the usage of a single general docket for all of

the Debtors' cases and combined notices to creditors of each Debtor's estate and other parties-in-

interest. Doing so also protects creditors' rights by ensuring that palties-in-interest in each of the

Chapter 11 Cases will be apprised of the various matters before the Court in each of the other

related cases.

                   12.      Finally, joint administration of these Chapter 1 1 Cases will not adversely

affect the Debtors' respective creditors because this Motion requests only administrative, and not

substantive, consolidation of the Debtors' estates. Thus, individual creditors' rights will not be

harmed by the relief requested; rather, constituents will benefit from the cost reductions joint

administration will achieve. In addition, joint administration enables stakeholders to more

readily apprise the various parties-in-interest of the matters before the Court. It also relieves the

Court of the burden of entering duplicative orders and rnaintairiing duplicative files arid will

siniplify the supervision and adrninistrative duties of tlie Office of the United States Trustee      f.or


the District of Delaware (the "U.S. Trustee") relating to these Chapter I       I   Cases.




{ l 368.002-W0068969, }                               -25-
                       Case 22-11072-JTD      Doc 3     Filed 11/14/22    Page 26 of 27




                   13.      Joint administration of interrelated chapter 11 cases is routinely approved

by courts in this jurisdiction, without controversy, under similar circumstances. See, e.g., In re

OSG Group Holdings,lnc., No. 22-10718 (JTD), (Aug.            9,2022),D.1.74 (authorizing joint

administration of chapter 1 1 cases); In re Packable Holdings, LLC.flk/a Entourage Contmerce,

ZIC, No. 22-10197 (JTD) (Aug. 30,2022), D.L            5 (same); In re Kabbage, Inc., No. 22-10951

(CTG) (Oct.4,2022),D.I.42 (same). Accordingly, the Debtors respectfully submit that joint

administration, for procedural purposes only, is in the best interest of the Debtors, their creditors

and other parties-in-interest.

                                                    Notice

                   14.      Notice of this Motion will be provided to: (a) the U.S. Trustee; (b) the

Securities and Exchange Commission; (c) the Internal Revenue Service; (d) United States

Departrnent of Justice; (e) the United States Attorney for the District of Delaware; (g) the parties

identified on the Debtors' consolidated list of 50 largest unsecured creditors; and (h) to the extent

not listed herein, those parties requesting notice pursuant to Bankruptcy Rule 2002. The Debtors

submit that, in liglrt of the nature of the relief requested, no other or further notice need be

provided.

                                             No Prior Request

                   1   5.   No prior motion for the relief requested herein has been made to this or

any other Court.




{ r 368.002-W0068969. )                               -26
               Case 22-11072-JTD          Doc 3      Filed 11/14/22   Page 27 of 27




                                             Conclusion

               WHEREFORE, for the reasons set forth herein, the Debtors respectftrlly request

that the Court (a) enter the Order, substantially in the form attached hereto as Exhibit A, and

(b) grant such other and further relief as is just and proper.

Dated: November 14,2022                   LANDIS RATH & COBB LLP
Wilmington, Delaware

                                          Adam G. Landis (No. 3407)
                                          Kimberly A. Brown (No. 5138)
                                          Matthew R. Pierce (No. 5946)
                                          919 Market Street, Suite 1800
                                          Wilmington, Delaware 1 9801
                                          Telephone: (302) 467 -4400
                                          Facsimile: (302) 467 -4450
                                          E-mail : landis@lrclaw.com
                                                  brown@lrclaw.com
                                                  pierce@lrclaw.com

                                             -and-

                                          Andrew G. Dietderich
                                          James L. Bromley
                                          Brian D. Glueckstein
                                          Alexa J. Kranzley
                                          SULLIVAN & CROMV/ELL LLP
                                          125 Broad Street
                                          New York, New York 10004
                                          Telephone: (212) 558-4000
                                          Facsimile: (212) 558-3588
                                           E-mail:      dietdericha@sullcrom.com
                                                        bromleyj @sullcrom.com
                                                        gluecksteinb@sullcrom. com
                                                        l<r anzley a@sul I crom. com


                                            Proposed Co-Counsel to the Debtors ond Debtors-in-
                                            Possession
